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 1                                                                  The Honorable Ricardo S. Martinez
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   RUSSELL H. DAWSON, Personal                          NO. 2:19-cv-01987-RSM
10   Representative of the Estate of Damaris
     Rodriguez,
11                                                        ORDER GRANTING JOINT PETITION
                               Plaintiff,                 TO APPROVE NAPHCARE
12                                                        SETTLEMENT
            vs.
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14   NAPHCARE, INC., et al.,

15                             Defendants.

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            The parties agreed in principle to a settlement whereby all of Plaintiff’s claims against all
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     remaining Defendants will be dismissed pursuant to the terms of a mutually confidential
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     agreement, which was appended to the report of settlement guardian ad litem Jennifer White.
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            Attorney Jennifer L. White was appointed as settlement guardian ad litem for minor
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     beneficiaries A.G., I.G., S.G., and D.G. Dkt. 167. Ms. White’s report is filed under seal at Dkt.
21
     246. Ms. White’s report approves of the proposed settlement, approves of the allocation of the
22
     proceeds between the decedents’ first tier beneficiaries (Reynaldo Gil, Jose Marte, A.G., I.G.,
23
     S.G., and D.G.), and proposed that the minors’ proceeds be deposited in professionally managed
24
     trusts for each minor beneficiary, which are already set up. Ms. White’s report also considers and
25
     approves Plaintiff’s counsel’s attorneys’ fees and requests for reimbursement of advanced costs
26
     and the Personal Representative’s fees and costs.
27
     ORDER GRANTING JOINT PETITION TO                                   KRUTCH LINDELL BINGHAM JONES, P.S.
                                                                                   3316 Fuhrman Ave E
     APPROVE NAPHCARE SETTLEMENT - 1                                                      Suite 250
                                                                                 Seattle, Washington 98102
     2:19-cv-01987-RSM                                                     TEL. 206.682.1505  FAX 206.467.1823
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 1        The Court hereby ORDERS:
 2           1. The Joint Petition to Approve NaphCare Settlement, Dkt. #247, is GRANTED.
 3           2. Pursuant to LCR 17 and SPR 98.16W, the proposed settlement agreement is
 4              approved.
 5           3. Russell Dawson, the personal representative of the estate, is authorized to execute
 6              the settlement agreement as set forth in the Petition and SGAL report.
 7           4. The Court approves the allocation of the proceeds as set forth in the Petition and
 8              SGAL report.
 9           5. The Court orders that the minors’ allocated shares be held in the court supervised
10              trusts, which have already been set up, pursuant to SPR 98.16W.
11           6. Plaintiff’s counsel shall maintain the portion of the payment allocated to the
12              minors in the Krutch Lindell Bingham Jones, P.S. IOLTA until they are disbursed
13              into their respective court approved trusts.
14           7. Plaintiff’s counsel shall, within 30 days, file a supplemental SGAL report, under
15              seal, verifying that the minors’ allocated shares have been deposited into the
16              trusts, as evidence that the Court’s order regarding the minors’ funds has been
17              carried out.
18           8. Plaintiff’s counsel’s attorneys’ fees and costs as set forth in Ms. White’s report
19              are reasonable and approved. Plaintiff’s counsel is authorized to receive said
20              approved fees and costs upon receipt of the payment from the Defendants, which
21              gross payment shall be placed into the Krutch Lindell Bingham Jones, P.S.
22              IOLTA.
23           9. Ms. White’s fees to date are approved. Pursuant to the settlement agreement,
24              $1,470.00 shall be paid by Plaintiff and $7,560.00 shall be paid by Defendants.
25           10. The parties shall file a stipulation dismissing this matter upon completion of the
26              requirements above.
27
     ORDER GRANTING JOINT PETITION TO                               KRUTCH LINDELL BINGHAM JONES, P.S.
                                                                                3316 Fuhrman Ave E
     APPROVE NAPHCARE SETTLEMENT - 2                                                   Suite 250
                                                                              Seattle, Washington 98102
     2:19-cv-01987-RSM                                                  TEL. 206.682.1505  FAX 206.467.1823
           Case 2:19-cv-01987-RSM Document 249 Filed 02/28/22 Page 3 of 3




 1           11. The settlement guardian ad litem is discharged upon completion of the
 2               requirements stated above.
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 6        DATED this 28th day of February, 2022.
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                                              RICARDO S. MARTINEZ
11                                            CHIEF UNITED STATES DISTRICT JUDGE
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18        Presented by:

19

20        KRUTCH LINDELL BINGHAM JONES, P.S.

21        By: /s/ J. Nathan Bingham________
          J. Nathan Bingham, WSBA #46325
22        3316 Fuhrman Ave E, Suite 250
          Seattle, Washington 98102
23        Telephone: (206) 682-1505
24        Facsimile: (206) 467-1823
          Email: jnb@krutchlindell.com
25

26

27
     ORDER GRANTING JOINT PETITION TO                             KRUTCH LINDELL BINGHAM JONES, P.S.
                                                                             3316 Fuhrman Ave E
     APPROVE NAPHCARE SETTLEMENT - 3                                                Suite 250
                                                                           Seattle, Washington 98102
     2:19-cv-01987-RSM                                               TEL. 206.682.1505  FAX 206.467.1823
